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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
EASTERN DIVISION

3M COMPANY, CASE )” EDCV21-01648-JGB

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Fini Honorable Jesus G. Bernal

“ {PROFGSED] ORDER FOR
SOLARYNA ENERGY, RELIMINARY INJUNCTION,

CONTINUING THE SEIZURE
ORDER, AND FOR UNSEALING

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Defendant.

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This case comes before the Court on the Court’s Amended Order Granting
Plaintiff's Ex Parte Application for Seizure Order, Temporary Restraining Order,
and Order to Show Cause for Preliminary Injunction (“Plaintiff's Application’’),
setting a hearing on October 13, 2021 (“Seizure and Show Cause Order’’), at 10:00
a.m. to consider whether to dissolve or modify the Seizure and Show Cause Order
and to show cause why a preliminary injunction should not issue enjoining
Defendant as specified in the Seizure and Show Cause Order.

The Seizure and Show Cause Order set a deadline of forty-eight (48) hours
prior to the commencement of the October 13, 2021 hearing for Defendant to
respond to or oppose Plaintiff's Application. Defendant did not file any response or

oppose Plaintiff's Application.
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On October 12, 2021, Plaintiff submitted a Supplemental Declaration of
Philip Eitzman and a Declaration of Michael Bryant in further support of Plaintiff's
Application, along with a Proposed Order.

Prior to the October 13, 2021 hearing, the U.S. Marshals Service filed a copy
of the Seized Property and Evidence Control form signed by Brent Basic reporting
the results of the October 5, 2021 seizure conducted pursuant to the Seizure and
Show Cause Order.

Plaintiff appeared at the October 13, 2021 hearing. Defendant [appeared / did
not appear] at the October 13, 2021 hearing.

Upon consideration of the Supplemental Declaration of Philip Eitzman; the
Declaration of Michael Bryant; the Seized Property and Evidence Centrol form;
Plaintiffs Complaint, Plaintiff’s previous Applications, supporting- memoranda, and
declarations and exhibits thereto; the arguments:of counsel and all files, records, and
proceedings hérein; and based on the findings of fact and conclusions of law set forth.
in the Court’s September 29, 2021 and October 1, 2021 Orders, and other good
cause; IT IS HEREBY ORDERED that:

1. A Preliminary Injunction is HEREBY ORDERED in this. matter as
between Plaintiff 3M Company and Defendant Solaryna Enetgy (hereinafter
“Defendant”), pursuant to the same terms and conditions as set forth in this Court’s
October 1, 2021 Amended Order Granting Plaintiff’s Ex Parte Application for a
Seizure Order, Temporary Restraining Order, and Order to Show Cause for
Preliminary Injunction (“TRO Order”), and as set forth below.

2. Defendant, as well as its agents, representatives, ernployees, assigns,
and all persons acting in concert or privity with them, are HEREBY
PRELIMINARILY ENJOINED FROM:

a. Maintaining, disseminating, reproducing, promoting, distributing,
advertising, or otherwise using any of the 3M Marks, or any mark

confusingly similar thereto;
2.

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AND FOR UNSEALING

 

 
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3,
otherwise.
4.

. Using any of the 3M Marks, or any mark ‘confusingly similar

thereto, as all or part of any mark, product configuration, or désign;.

. Concealing, destroying, transferring, selling, donating, or otherwise

disposing of any products bearing 3M Marks, including but not
limited to such products located at 4205 E. Brickell Street, Ontario,
CA 91761, as well. as evidence of Defendant’s manufacture, sale, or
receipt of things related to Defendant’s sale of counterfeit 3M-brand

products bearing the 3M Marks.

. Using the 3M Marks and.any other word, name, symbol, device, or

combination thereof that is confusingly similar to. the 3M Marks,
for, on, and/or in connection with the manufacture, distribution,
advertising, promoting, offering for sale, and/or sale of any goods
or services, including, without limitation, Plaintiff's 3M-brand N95

respirators;

. Engaging in any false, misleading, and/or deceptive: conduct in

connection with 3M_and its products, including, without limitation,
representing itself as being an authorized distributor, vendor, agent,
representative, retailer, and/or licensee of 3M. and/or any of 3M’s

products, including, without limitation, 3M-brand N95 respirators;

and

. Falsely representing to have an association or affiliation with,

sponsorship. by, and/or connection with 3M and/or any of 3M’s

products.

This Preliminary Injunction will remain in effect until the Court orders

The relevant findings of fact and conclusions of law that supported the

Court’s entry of the seizure order.and temporary testraining order on September 29,

2021, as-amended on October 1, 2021, are still in effect.

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3 The counterfeit respirators seized by the U.S. Marshals during the
execution of the seizure order on October 5, 2021, may be DESTROYED. The
Court reserves ruling on Plaintiff's request for an award of costs associated with that

destruction.
6. The Clerk of Court is directed to UNSEAL the documents in this case
that had been filed under seal. Any future filings in this case are to be filed on the

public docket unless otherwise authorized by statute or Court order.

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